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                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION
                                         www.flmb.uscourts.gov

In re :                                                                     Case Number 6:19-bk-03539-KSJ
                                                                            Chapter 7
Deborah Sue Ann Killian,
                             Debtor(s).
______________________________________/

                  TRUSTEE’S RESPONSE TO PENNYMAC LOAN SERVICES, LLC’S
                       MOTION FOR RELIEF FROM AUTOMATIC STAY

          COMES NOW Marie E. Henkel, the duly appointed Trustee in this Chapter 7 case, by and through
her undersigned counsel, and responds to PennyMac Loan Services, LLC’s Motion for Relief from Automatic
Stay, dated June 14, 2019, (docket no. 10) in regard to the residential real estate located in Lake County,
Florida, (“Property), more particularly described below, and states as follows :


          Lot 135, GRAND ISLAND RESERVE, according to the plat thereof as recorded in Plat Book
          60, Pages 26 through 31, inclusive, of the Public Records of Lake County, Florida.

          a/k/a 3043 Zander Dr., Grand Island, FL 32735
          Parcel ID No. 33-18-26-0010-000-13500

    1. Trustee will be seeking Court approval to employ BK Global Real Estate Services and Century 21
          Carioti to market and conduct a short sale of the real property described above.
    2. Trustee hereby requests 180 days to sell the Property for the benefit of creditors and PennyMac Loan
          Services, LLC.


    WHEREFORE, Trustee prays that she be granted 180 days to sell the Property for the benefit of creditors
of this case and for all other relief as is just and proper.


    Respectfully submitted this 10th day of July, 2019.

                                                     /s/ Kristen L. Henkel
                                                     Kristen L. Henkel, Esq.
                                                     Florida Bar No. 81858
                                                     M. E. Henkel, P.A.
                                                     3560 South Magnolia Avenue
                                                     Orlando, Florida 32806
                                                     Telephone : (407) 438-6738
                                                     Facsimile : (407) 858-9466
                                                     khenkel@mehenkel.com



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                                      CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was provided by United States Mail, postage
prepaid, or by electronic delivery to : United States Trustee, 400 W. Washington St., Suite 1100, Orlando,
Florida 32801; Deborah Sue Ann Killian, 4310 Arlington Ridge Blvd., Leesburg, FL 34748, Debtor(s);
Samuel R. Pennington, 303 N. Texas Ave., Tavares, FL 32778, Debtor(s)’ Attorney, Frederic DiSpigna,
Esquire, Marinosci Law Group, P.C., 100 West Cypress Creek Road, Suite 1045, Fort Lauderdale, FL 33309,
Attorney for PennyMac Loan Services, LLC; on July 10, 2019.

                                               /s/ Kristen L. Henkel
                                               Kristen L. Henkel, Esq.




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